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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JOHN DOE,

                                  Plaintiff,             Civ. No. 25-1652
         v.
                                                         COMPLAINT
 SEAN COMBS,

                                  Defendant.



       Plaintiff John Doe, by and through his attorneys, Eisenberg & Baum, LLP, hereby states

his Complaint against Defendant Sean Combs, and allege as follows based upon personal

knowledge and information and belief:

                                  PRELIMINARY STATEMENT

       1.      Under the guise of male companion services, Sean Combs lured John Doe to be

sexually assaulted and then threatened him to stay quiet: “you better not say a word to anybody

about this. Did you hear me? . . . I’m not fucking playing with you. If I can get Pac hit, what the

fuck do you think can happen to you?” Fearing for his life, John Doe affirmed that he would not

say anything about the assault.

                                               PARTIES

       2.      Plaintiff John Doe is an individual.

       3.      Defendant Sean Combs is an individual.

                                  JURISDICTION AND VENUE
       4.      This Court has subject matter jurisdiction for the federal law claim under 28 U.S.C.

§§ 1331 and 1343 because this action arises under the laws of the United States. This Court also

has supplemental jurisdiction for state and/or common law claims under 28 U.S.C. § 1367 because
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the claims are substantially related to the federal law claim.

        5.       Venue is proper in this District under 28 U.S.C. § 1391(b) because, among other

things, the acts and omissions giving rise to this Complaint occurred in this District.

                                    STATEMENT OF FACTS

        6.       In 2012, John Doe was a contractor for a male companion service based out of

Florida.

        7.       After initially meeting Combs through this service, Doe would travel from Florida

where he resides to New York City at Combs’ request.

        8.       When Doe arrived at the Intercontinental Hotel in New York City, he was brought

into a suite where Combs soon ordered Doe to perform sexual acts upon a female companion of

Combs’.

        9.       During this time, Combs had Doe drink from a water bottle and then Combs

rubbed baby oil all over Doe’s body, one or both of which made Doe feel as if he had been

drugged and not in complete control of his body.

        10.      Doe was directed by Combs to perform oral and penetrative sex on his female

companion for multiple hours, degrading her and directing Doe to degrade and perform degrading

acts upon her.

        11.      After these acts concluded, Doe went to the bathroom.

        12.      While in the bathroom, Combs entered and said, “I really want you to stay, let’s

turn up, let’s turn up.”

        13.      Doe reiterated that he was not feeling well and needed to leave. Combs replied

saying, “No, we’re gonna have some fun,” and grabbed Doe’s penis while he began to

simultaneously touch himself.




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       14.     Combs then let go of Doe’s penis and began inserting his finger into Doe’s anus

without Doe’s consent.

       15.     He continued the assault, pinning Doe to the wall and forcing his penis into Doe’s

rectum. Doe continually told Combs to stop, screaming “no” because he was in pain.

       16.     Combs continued the assault for 4-5 minutes and forcibly anally raped Doe.

       17.     When Combs removed his penis from Doe’s rectum, he began to threaten him,

saying things like, “you better not say a word to anybody about this. Did you hear me?” Doe

affirmed that he had heard him. Combs continued: “I’m not fucking playing with you. If I can get

Pac hit, what the fuck do you think can happen to you?” Doe, fearing for his life, again affirmed

that he would not say anything about the assault.

                                  FIRST CAUSE OF ACTION
                                  (Violation of 18 U.S.C. § 1591)

       18.     Plaintiff repeats, reiterates and re-alleges each and every allegation set in detail

above as if set forth more fully and at length herein.

       19.     The Trafficking Victims Protection Act (“TVPA”) creates a civil remedy by victims

against perpetrators and others who benefitted financially from participation in a sex trafficking

venture. See 18 U.S.C. § 1595. A TVPA claim must plead that the defendant “knowingly . . .

benefits, financially or by receiving anything of value, from participation in a [sex trafficking

venture,] while knowing . . . that means of force, threats of force, fraud [or] coercion . . . will be

used to cause [a] person to engage in a commercial sex act.” 18 U.S.C. § 1591(a)(2). In addition

to traditional sex trafficking ventures such as forced prostitution, the TVPA equally applies in

simpler and less sensational situations to “defendants who have lured [individuals], under false

pretenses and with lucrative promises, for sexual purposes.” Noble v. Weinstein, 335 F. Supp. 3d




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504, 516 n.5 (S.D.N.Y. 2018). 1

         20.      Combs frequently traveled to different states and had Plaintiff travel interstate

under the guise of a valid business transaction. Unbeknownst to Plaintiff, Combs actually intended

to sexually assault Plaintiff instead.

         21.      Combs knew that he would use the contractor service for which Plaintiff worked in

order to create a pretext for him to meet with Plaintiff for business-related purposes and used fraud,

physical force or coercion to force sexual encounters without Plaintiff’s consent.

         22.      Combs traveled in interstate and foreign commerce, knowingly recruiting or

enticing Plaintiff, offering him something of value through the companion service, knowing that

he would use these offers as a means to coerce Plaintiff to have private “business” meetings with

Combs and then use fraud, intimidation, force and/or coercion into forced sexual encounters

without Plaintiff’s consent.

         23.      Thus, Combs knowingly affected interstate commerce by recruiting, enticing,

transporting, and soliciting Plaintiff, knowing that he intended to and did perform a commercial

sex act on Plaintiff without Plaintiff’s consent.

         24.      As a result, Plaintiff experienced injury in the form of severe emotional pain and

suffering, emotional distress and humiliation.

         25.      For the reasons alleged above, Plaintiff seeks compensatory and punitive damages

at an amount to be determined by trial, and an award of attorneys’ fees, costs, and disbursements.

                                     SECOND CAUSE OF ACTION
                                   (Violations of New York’s VGMVPL)



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  Indeed, “Congress noted that ‘trafficking in persons is not limited to the sex industry,’ and that ‘traffickers lure
[people] into their networks through false promises of decent working conditions at relatively good pay as nannies,
maids, dancers, factory workers, restaurant workers, sales clerks, or models.’” Noble, 335 F. Supp. 3d at 514 (citing
Pub. L. No. 106-386 § 102, 114 Stat. 1488 (2000)).


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          26.   Under    New    York    City’s    Victims     of   Gender-Motivated    Protection

Law (“VGMVPL”) survivors of sexual abuse have a 2-year window to file claims over gender-

motivated assaults that occurred at any time in the past. The window opens on March 1, 2023 and

closes on March 1, 2025.

          27.   The VGMVPL provides a civil cause of action to any person “claiming to be

injured by a party who commits, directs, enables, participates in, or conspires in the commission

of a crime of violence motivated by gender.” Title 8, N.Y.C. Admin. Code § 10-1104. The term

“crime of violence” is expressly defined to mean “an act or series of acts that would constitute a

misdemeanor or felony against the person as defined in state or federal law or that would

constitute a misdemeanor or felony against property as defined in state or federal law if the

conduct presents a serious risk of physical injury to another, whether or not those acts have

actually resulted in criminal charges, prosecution, or conviction.” Id. § 10-1103.

          28.   As set forth above, Combs sexually assaulted Plaintiff, and this would not have

occurred had Plaintiff been female.

          29.   In any event, sexual assault is presumed to be committed with “animus” for

purposes of the VGMVPL.

          30.   For the reasons alleged above, Plaintiff seeks compensatory and punitive damages

in an amount to be determined at trial, and an award of attorneys’ fees, costs, and disbursements.

                              THIRD CAUSE OF ACTION
                        (Common-law sexual assault, battery, and/or rape)

          31.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

herein.




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          32.   Combs intentionally attempted, without authority or consent, to harm and/or

offensively contact Plaintiff, and this attempt reasonably placed Plaintiff in fear and apprehension

of such harm and/or offensive contact, which conduct proximately caused him injury and damage.

          33.   A harmful, offensive, unprivileged, and unpermitted contact with Plaintiff actually

occurred as a result of this conduct.

          34.   As a result, Plaintiff has experienced and will continue to experience emotional

anguish, pain and suffering and loss of dignity damages.

          35.   Defendant’s conduct was malicious, wanton, and willful.

          36.   For the reasons alleged above, Plaintiff seeks compensatory and punitive damages

in an amount to be determined at trial, and an award of attorneys’ fees, costs, and disbursements.

                                FOURTH CAUSE OF ACTION
                           (Intentional Infliction of Emotional Distress)

          37.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

herein.

          38.   Combs’ conduct and assault and battery of Plaintiff described above was

intentional, shocking, unreasonable, and highly offensive, which caused severe and debilitating

emotional distress to Plaintiff.

          39.   Defendant’s conduct was malicious, wanton, and willful.

          40.   Accordingly, Plaintiff seeks compensatory and punitive damages in an amount to

be determined at trial, and an award of attorneys’ fees, costs, and disbursements.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully prays that this Court grant the following relief

against Defendant:

          A.    Enter judgment against Defendant and an award of damages, including but not


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limited to compensatory damages for emotional distress, nominal, punitive, and/or exemplary

damages, attorneys’ fees, pre- and post-judgment interest in an amount to be determined at trial

by a jury; and

       B.        Any further relief as this Court deems just and proper.



Dated: February 26, 2025
                                                       Respectfully submitted,

                                                       EISENBERG & BAUM, LLP

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